   Case: 4:22-cv-00171-RLW Doc. #: 8 Filed: 02/23/22 Page: 1 of 2 PageID #: 39




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §              Case No: 4:22-cv-00171-RLW
                                      §
vs.                                   §              PATENT CASE
                                      §
LINXUP, LLC                           §              JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this

Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against Linxup,

LLC without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.

Dated: February 23, 2022.                Respectfully submitted,


                                         /s/Robert J. Vincze
                                         Robert J. Vincze (MO #37687)
                                         Law Offices of Robert J. Vincze
                                         PO Box 792
                                         Andover, Kansas 67002
                                         303-204-8207
                                         vinczelaw@att.net


                                         ATTORNEY FOR PLAINTIFF




                                                 1
  Case: 4:22-cv-00171-RLW Doc. #: 8 Filed: 02/23/22 Page: 2 of 2 PageID #: 40




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
February 23, 2022., and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                        /s/Robert J. Vincze
                                        Robert J. Vincze (MO #37687)




                                                2
